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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
__________________________________________
                                                )
T.S. KAO, INC. d/b/a LUCKY 7 CHINESE            )
FOOD, THE DINNER BELL CAFÉ, INC.,               )
BILL’S PIZZA PALM SPRINGS, and BILL’S           )
GRILL 1 LLC, individually and on behalf and all )
others similarly situated,                      )
                                                )
             Plaintiffs,                        ) Civil Action
                                                )
v.                                              ) No. 1:16-cv-04219-SCJ
                                                )
NORTH AMERICAN BANCARD, LLC                     ) Honorable Steve C. Jones
and GLOBAL PAYMENTS DIRECT, INC.,               )
                                                ) CLASS ACTION
             Defendants.                        )
__________________________________________)

       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT

      Plaintiffs T.S. Kao, Inc. d/b/a Lucky 7 Chinese Food (“Lucky 7”), the

Dinner Bell Café, Inc. (“Dinner Bell”), Bill’s Pizza Palm Springs (“Bill’s Pizza”),

and Bill’s Grill 1 LLC (“Bill’s Grill”) (together, “Plaintiffs”), by and through their

undersigned counsel, individually and on behalf of all persons and entities

similarly situated (the “Classes,” as defined below), submit their Consolidated

Amended Class Action Complaint against Defendants North American Bancard,

LLC (“NAB”) and Global Payments Direct, Inc. (“Global”) (together,

“Defendants,” unless otherwise identified) and allege the following based on
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personal knowledge as to allegations regarding themselves and on information and

belief as to other allegations.

                          I. NATURE OF THE ACTION

       1.    Plaintiffs, individually and on behalf of all others similarly situated,

bring this class action against NAB, a nationally-operating merchant services

company, and Global, a multinational payment card processor, for their use of

unfair, unlawful, and fraudulent business practices in violation of Georgia state

law.

       2.    Plaintiffs are merchants who formerly obtained payment card

processing services from Defendants.

       3.    In today’s business world, the vast majority of merchants accept

payment for goods and services via credit and debit cards. In order to accept these

payment methods, merchants must use payment processing systems.

       4.    Merchants rely on the companies that provide payment processing

services to do so at fair, agreed upon prices. Indeed, fees for payment card

processing services are typically the third highest expense most merchants incur,

following labor and product costs.

       5.    The payment card processing system can be difficult to understand in

light of the many parties involved in any given transaction. For instance, in


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addition to the merchant who receives payment and the customer who provides

such payment, the processing of a card transaction involves several other parties:

             (a)   The Card Issuer – the company that issued the credit or debit

card to the customer, which is typically a bank (such as Chase or Bank of

America), and which charges a fee whenever a customer uses one its cards for a

transaction. Card issuers charge fees that are usually calculated as a percentage of

a transaction plus a per-transaction fee (e.g., 1.65% + $0.10/transaction). This fee

varies based on the type of card used. For example, the card issuer may charge a

higher fee for transactions involving a rewards credit card than a card with no

rewards program. Although it is paid to the card issuer, the amount of this fee is

established by the card network, such as Visa or MasterCard (see below), and is

therefore considered a card network “assessment.”          These assessments are

generally known as “interchange fees,” and they are collected by the payment card

processor from the merchant that submitted the transaction.

             (b)   The Card Network – the card networks (i.e., Visa, MasterCard,

Discover, and American Express) also charge fees on a per-transaction basis.

Among other things, Visa assesses a fee known as the “APF” (“Acquirer

Processing Fee”), and MasterCard charges a fee known as the “NABU” (“Network

Access and Brand Usage”) fee. These fees are generally known as “access fees”


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and, like interchange fees, belong to the category of fees known generally as card

network “assessments,” since they are established by the card networks. The card

networks also charge other assessments calculated as a specific percentage of total

transaction volumes, e.g., 0.11% (or 11 basis points) on all VISA credit

transactions before July 2016, and 0.13% (or 13 basis points) since July 2016.

These other assessments are established by the card networks, and they are

collected by the payment card processor from the merchant that submitted the

transaction.

               (c)   The Payment Processor – this is the entity that actually

processes the payment through the card network and ensures that whenever a

customer pays for an item or service with a credit or debit card, the customer’s

account is properly debited and the fees and charges are properly routed to the

various interested parties. The payment processor is also typically responsible for

preparing monthly invoices for each merchant, although such invoices may be

branded and/or distributed by the Merchant Acquirer (see below). Defendant

Global is a payment processor.

               (d)   The Member Bank – only banks, such as Wells Fargo and

HSBC, may be “members” of card networks.           These member banks sponsor




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payment processors (such as Global) so they may process transactions through the

card networks.

            (e)   The Merchant Acquirer – this company is an independent sales

organization (“ISO”) that markets the payment processor’s services to merchants

and aggregates accounts of smaller ISOs or Merchant Service Providers (“MSPs”),

who deal directly with merchants. Merchant acquirers and smaller ISOs/MSPs

essentially act as a “middleman” between merchants and payment processors.

They enroll merchants in payment processing services, ensure that the services are

working properly, and provide customer support to the merchant. Additionally,

they sometimes distribute monthly invoices or statements reflecting fees and

charges to the merchant (where processors do not fulfill this function). Defendant

NAB is a merchant acquirer.

      6.    Ordinarily, a merchant that wants to accept credit and debit cards as a

form of payment contracts with a payment processor and/or merchant acquirer to

obtain such services. This contract sets forth the fees that the merchant will be

charged, and commonly consists of two parts:

            (a)   “Pass Through” Costs – these charges consist of the card

network “assessments,” including interchange fees, access fees, and other

assessments imposed by card networks. These are set costs that apply universally


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and without variation at any given time, regardless of the identity of the merchant.

These costs are uniform, unavoidable, and are “passed through” at cost to the

merchant on its monthly billing statement by the processor and merchant acquirer.

             (b)   Payment Processing Fees – these are the fees which the

merchant is charged by the payment processor and/or merchant acquirer for

payment processing services.     Unlike interchange fees, access fees, and other

assessments, these fees are negotiated on the front end of the parties’ relationship.

They can include at least two types of charges: per-transaction processing fees (the

margin the processor and/or merchant acquirer imposes as a fee for services

rendered in connection with processing payments) and flat service fees, such as

monthly maintenance fees.      They are ordinarily disclosed and agreed in the

merchant’s application to obtain payment processing services and are itemized on

the merchant’s monthly billing statement.

      7.     The number of parties involved, the complexity of the invoices, the

existence of so many moving pieces involved in calculating the amounts shown on

the invoices, and other factors makes it difficult, particularly for small- and

medium-sized merchants, to understand whether card processing companies are

only charging fees allowed by their contracts.




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      8.     Unfortunately, some unscrupulous companies that implement and

service payment card processing systems take advantage of this complexity and the

confusion it engenders. They induce merchants to execute standardized contracts

for their services with the promise of straightforward, transparent pricing, but then

surreptitiously implement small mark-ups and impermissible junk fees.

      9.     These improper fees are assessed for the sole purpose of raising

additional revenue for the processor and/or merchant acquirer at the merchants’

expense. It is a classic case of bilking the client that, due to the lack of regulation

in the payment processing industry and the relatively small sums of money at stake

for any individual merchant, almost always goes unchallenged.

      10.    Over several years, Defendants have perpetrated this scheme to

generate tens or hundreds of millions of dollars from thousands of merchants. This

case challenges the amount and nature of certain inflated assessments, as well as

junk fees, that have been imposed upon unsuspecting merchants such as Plaintiffs.

Such fees violate the express terms of the parties’ standardized form “Merchant

Service Agreement” (the “Agreement,” a recent exemplar of which is attached

hereto as Exhibit 1) as well as the covenant of good faith and fair dealing.

Furthermore, several pertinent provisions of the adhesive Agreement are

unconscionable or otherwise unenforceable. Additionally, the fees charged are


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unjust and it would be inequitable for Defendants to retain them.             Finally,

Defendants fraudulently misrepresented and/or omitted key facts concerning their

billing practices both in the Agreement and in monthly statements.

      11.   Plaintiffs seek monetary as well as injunctive and declaratory relief,

individually and on behalf of all other merchants similarly situated, to remedy

Defendants’ unlawful, deceptive, and unfair conduct.

                                   II. PARTIES

      12.   Plaintiff Lucky 7 is a Michigan corporation and has its principal place

of business in Michigan. Lucky 7 is a merchant that owns and operates a Chinese

food restaurant in Ypsilanti, Michigan. Lucky 7 received payment processing

services from Defendants from 2013 to 2016.

      13.   Plaintiff Dinner Bell is an Arizona corporation and has its principal

place of business in Arizona. Dinner Bell previously operated a restaurant in

Prescott, Arizona.    Dinner Bell received payment processing services from

Defendants from approximately April 2013 to December 2013.

      14.   Plaintiff Bill’s Pizza is a sole proprietorship with its principal place of

business in Palm Springs, California. Bill’s Pizza’s sole proprietor, William Tracy,

is a resident and citizen of the State of California. Bill’s Pizza received payment




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processing services from Defendants from approximately April 2013 to December

2013.

        15.   Plaintiff Bill’s Grill is an Arizona limited liability corporation that

was terminated in July 2016. Bill’s Grill received payment processing services

from Defendants from approximately April 2013 to December 2013. Pursuant to

Ariz. Rev. Stat. § 29-784, Bill’s Grill continues in existence for the purpose of its

legal claims, filed in this Court on August 31, 2015.

        16.   Defendant NAB is a privately-held Delaware limited liability

company with its principal place of business in Troy, Michigan. NAB is one of the

world’s largest merchant acquirers. NAB provides merchant services to more than

250,000 merchants nationwide and has annual revenues of over $500 million.

        17.   Defendant Global is a New York corporation with its principal place

of business in Atlanta, Georgia. Global is a multinational payment processor that,

according to its websites, services 1.5 million merchants in 29 countries and

generates $2.6 billion in revenue per year.

                      III.   JURISDICTION AND VENUE

        18.   Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332(d)(2)

because there are more than 100 Class members; the aggregate amount in

controversy exceeds $5 million exclusive of interest, fees, and costs; and at least


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one Class member is a citizen of a state different from Defendants. As a limited

liability company, NAB is considered an “unincorporated association” for

purposes of jurisdiction under the Class Action Fairness Act.            28 U.S.C. §

1332(d)(10).

      19.      This Court has personal jurisdiction over Defendants because they

both conduct substantial business within the State of Georgia, such that they have

significant, continuous, and pervasive contacts with this State. Jurisdiction also

exists because the Merchant Service Agreement (Exhibit 1) specifies this Court as

the proper forum for any litigation arising out of or relating to that document or the

relationships it creates.

      20.      Venue lies within this judicial district under 28 U.S.C. § 1391 because

Defendants both conduct business in this district, and a substantial portion of the

events, omissions, and acts giving rise to the claims herein occurred in this district.

Venue is also appropriate in the Atlanta division of this Court.

                  IV.       COMMON FACTUAL ALLEGATIONS

A.    Merchants Contract for Transparent, Low Cost Payment Processing
      Services.

      21.      According to its website, NAB “help[s] those striving for the

American dream achieve it by providing them access to industry-leading merchant




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services.” NAB purports to offer “some of the lowest rates for payment processing

you can find today.”

      22.    NAB specializes in enrolling merchants in payment processing

services. Thereafter, NAB is charged with ensuring that the services are working

properly, providing customer support to merchants, and handling monthly billing

and collections.

      23.    The predominant pricing model used by NAB and other merchant

acquirers is “interchange-plus,” or “cost-plus,” pricing. According to this pricing

model, merchants are required to pay the actual assessments established by the

card networks, including access fees (Visa APF fees, MasterCard NABU fees, and

Discover access fees) and other assessments, as well as actual interchange rates.

Companies like NAB and Global are paid for their services in accordance with a

separate negotiated rate (the “plus” component of interchange-plus).

      24.    Other pricing models, such as “tiered rate” pricing, may also require

merchants to pay actual card association assessments, but interchange-plus pricing

is widely regarded as the most transparent pricing model offered by merchant

acquirers and payment processors.         Interchange-plus pricing requires that

processors itemize the fees charged to merchants, including any separate mark-up

charged by the processor or other authorized third party.


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      25.   As one industry publication states, “Interchange-plus is the most

transparent, cost-effective form of merchant account pricing. The separation of

processing costs with interchange-plus also allows for the optimization of

interchange expenses. … By passing interchange fees directly to merchants with a

fixed markup, surcharges and hidden costs are generally eliminated.”

(http://www.cardfellow.com/blog/interchange-plus-pricing/).

      26.   NAB does not, however, process payments itself.         Rather, such

services are provided through Global, a back-end payment processing technology

company, or another back-end payment processing technology company, First

Data Corporation (“First Data”).

      27.   NAB has partnered with Global to provide payment processing

services to merchants for well over a decade.

      28.   Whenever NAB solicits business from a merchant, it provides the

merchant with a form Merchant Service Agreement (see Exhibit 1).              The

Agreement consists of two parts: (a) the Merchant Application (“Application”),

which occupies the first page and the last two pages of the Agreement; and (b) the

Terms and Conditions of Merchant Service Agreement (“Terms”), which occupies

the rest of the Agreement.




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      29.    NAB is not specifically identified as a party to the Agreement. See

Exhibit 1 at 2 (identifying merchant, Global, and the member bank as the parties to

the contract).

      30.    Nevertheless, NAB is a party to the Agreement. NAB’s logo and

phone number are prominently featured on the top of the Application. See Exhibit

1 at 1. The Application also directs merchants to address “[a]ll questions regarding

merchant processing” to NAB.         Id.   There is also a signature block on the

Application for “Application Accepted by ISO.” Id. at 11. Because NAB is the

independent sales organization, or ISO, in Plaintiff’s transaction, this signature

block is clearly intended for NAB.

      31.    Moreover, the Terms impose obligations on NAB. See Exhibit 1 at 11

(authorizing NAB to “initiate automated deposit or debit (ACH) entries to

[Plaintiff’s] bank account” and to collect merchant fees, “subject to and only as

pursuant to [NAB’s] separate written agreement with Global Direct”). As the

Court held in its Order denying NAB’s Rule 12(b)(6) dismissal motion, “The

‘separate written agreement with Global Direct’ was incorporated by reference into

the merchant service agreements.” Order at 7, The Dinner Bell Café, Inc., et al. v.

North American Bancard, LLC, No. 1:15-cv-3059-SCJ, Dkt. No. 36 (N.D. Ga.

Aug. 4, 2016).


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      32.    The Merchant Application identifies the fees and charges to which the

merchant will be subject if it decides to enroll in Defendants’ services. The

Application contains a “Pricing Schedule” that explicitly provides that merchants

will be subject to two general types of charges. See Exhibit 1 at 11.

      33.    The first general category of charges, under both “Retail” and (if

applicable) “MOTO/Internet,” is cost-plus pricing. Under this method of pricing

applicable to both swiped transactions and internet-based transactions, the

interchange rates, access fees, and other assessments set by the card networks are

passed through to the merchant at cost and the merchant is separately charged an

additional disclosed amount representing the payment processing fees to which

Defendants are entitled (i.e., the interchange rates, access fees, and other

assessments together comprise the “cost” in “cost-plus” pricing, and the “plus” is

Defendants’ negotiated fee).

      34.    The Pricing Schedule uniformly and expressly represents that charges

established by the card associations – i.e., “assessments” – will be passed through

at cost to merchants.

      35.    Plaintiffs are aware of two materially identical versions of the relevant

language in the Application.




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      36.    In the version last revised in December 2013 (attached as Exhibit 1),

the Application states, “[c]ard association assessments will be passed through,”

and sets forth the card association access fees that Defendants will charge the

merchant. Id. at 11.

      37.    In a version of the Application last revised in October 2011 – the

version that all Plaintiffs signed – the Application states, “[a]ctual interchange

passthrough and assessments plus [X] BPS,”1 and sets forth the card association

access fees that Defendants will charge the merchant. See Exhibit 2 (Dinner Bell

Application) at 10; Exhibit 3 (Bill’s Pizza Application) at 10; Exhibit 4 (Bill’s Grill

Application) at 10; Exhibit 5 (Lucky 7 Application) at 10.

      38.    The two versions of the relevant language in the Pricing Schedule are

materially identical because, as alleged above, “assessments” is a term that

includes any non-negotiable charges established by the card networks, including

interchange fees, access fees, and other assessments.

      39.    In addition to such cost-plus pricing representations, the Application

also specifically identifies the second category of charges – “Other Fees” – to

which the merchant will be subject “if applicable.” Id. These fees could include,


1
  The specific number of basis points individual merchants agree to pay is subject
to negotiation between the merchant and Defendants, and forms no part of the
claims asserted herein. This disclosed fee reflects processing service fees.

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inter alia, various monthly fees (e.g., “Wireless Network Access (Monthly),”

“Debit Gateway Fee (Monthly),” “Monthly Basic Service Fee,” “Statement

Mailing Fee”), per-transaction fees (e.g., “Touch Tone Transactions,” “T&E Draft

Capture Transactions,” “Wireless Transaction Fee,” “Debit Transaction”), annual

fees (e.g., “Annual Fee”), and other types of fees (e.g., “Batch Header,” “Monthly

Minimum Discount Fee,”2 “Chargeback Fee,” “Retrieval Fee”).

      40.    The Application thus informs the merchant – in clear, unambiguous

terms – what it will be charged if it agrees to enroll in Defendants’ services and

how such charges will be calculated.

      41.    This transparency is very important because the Agreement extends

for a set period of time, typically three years. If a merchant desires to end its

relationship with Defendants prior to the expiration of this term, it often must pay

an early termination fee of several hundred dollars, which provides a powerful

incentive to maintain the relationship even in the face of small-value overbilling

(assuming a merchant even detects the concealed overbilling in the first place).




2
 “Monthly Minimum Discount Fee” is not a monthly fee, but a fee imposed if and
only if the merchant submits a volume of transactions that falls below a certain
specific monthly minimum volume.

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      42.    Those merchants that are interested in doing business for the specified

fees identified in the Application sign it.     The information contained in the

Application is part and parcel of the deal.

      43.    Further, the same Merchant Application is used by NAB regardless of

which back-end processing technology company (i.e., Global or First Data) NAB

has partnered with to service any particular merchant account. Accordingly, NAB

makes identical representations in the Application to merchant clients that NAB

services in partnership with Global and to merchant clients it services in

partnership with First Data.

B.    Defendants Systematically Overcharge Their Merchants.
      44.    Over the course of its relationship with merchants, NAB imposes

payment processing fees that do not comport with those set forth in the

Application. These inflated fees are imposed for no other reason than to improve

NAB’s bottom line (and that of its passive partner, Global).

      45.    Upon information and belief, NAB chooses what fees to impose on

merchants that are above and beyond those set forth in the Agreement. NAB then

provides specifications to Global as to the nature and amount of future merchant

overcharges (e.g., what new junk fees to impose and when, what pass-through




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assessments to increase, when to increase them, etc.), and Global carries out the

process of preparing NAB-branded merchant invoices.

      46.     Despite being a named party to the Agreements and knowing that

such fees are unlawful and impermissible, Global nevertheless ensures that

merchants are charged these inflated amounts, and is therefore culpable in the

scheme alleged herein.

      47.     It is currently unknown which Defendant actually distributes the

monthly statements to merchants and/or debits the charges from merchants’

accounts. For example, NAB is identified at the top of each statement, but the

form and format of the statement appears to be generated by Global (as evidenced

by the fact that it is very similar to statements used by merchant acquirers other

than NAB that have partnered with Global). Regardless, it is clear that both

Defendants are integral cogs in the scheme and share in its proceeds. Discovery

will reveal the precise nature of each Defendant’s back-office role.

      48.     The various unlawful, impermissible, and inflated fees imposed by

Defendants on Plaintiffs and other Class members are described in more detail

below.




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      Junk Fees

      49.    First, Defendants charged several types of fees that are simply not set

forth in Plaintiffs’ Applications.

             a.     Dinner Bell. Among the fees that were charged to Dinner Bell

that are mentioned nowhere in the Application (Exhibit 2) are: (i) a “fixed acquirer

network fee” ($4.00/month); (ii) a “PCI monthly non-compliance fee”

($14.95/month); (iii) a “www.mypci.com” fee ($24.95); and (iv) a “regulatory fee”

($99.00).

             b.     Bill’s Pizza. Among the fees that were charged to Bill’s Pizza

that are mentioned nowhere in the Application (Exhibit 3) are: (i) a “fixed acquirer

network fee” ($4.00/month); (ii) a “www.mypci.com” fee ($24.95); and (iii) a

“PCI monthly non-compliance fee” ($14.95/month).

             c.     Bill’s Grill. Among the fees that were charged to Bill’s Grill

that are mentioned nowhere in the Application (Exhibit 4) are: (i) a “fixed acquirer

network fee” ($4.00/month); (ii) a “www.mypci.com” fee ($99.00); (iii) a “PCI

monthly non-compliance fee” ($14.95/month); and (iv) a “regulatory fee”

($99.00).

             d.     Lucky 7. Among the fees that were charged to Lucky 7 that are

mentioned nowhere in the Application (Exhibit 5) are: (i) an annual PCI service fee


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($79.00 to $99.00/year); (ii) a PCI monthly non-compliance fee ($6.95 to

$29.95/month); (iii) a “regulatory fee” ($99.00); (iv) a PCI scan fee ($64.95); and

(v) an EMV readiness fee ($29.99).

      50.    On information and belief, Defendants similarly charged other Class

members for fees that were not set forth in the Class members’ Applications.

      51.    Second, Defendants charged Lucky 7 several types of fees that,

although included as “Other Fees” in the Application, were not denoted as being

applicable to Lucky 7, including: (a) a monthly minimum discount fee ($25.00);

(b) batch header fees ($0.35/unit); and (c) a chargeback fee ($25.00).

      52.    On information and belief, Defendants similarly charged other Class

members for identified “Other Fees” that were not authorized by the Applications

submitted by such Class members.

      53.    Third, Defendants charge a fee for My Biz Perks, a supplementary

merchant service, earlier than this charge is permitted by the terms of the

Agreement.    The Application specifically states that merchants would not be

charged for My Biz Perks before a “60-day free trial” expires. Lucky 7 was

charged a monthly fee of $11.95 prior to the expiration of the 60-day trial. On

information and belief, Defendants routinely charged other Class members a fee




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denoted as “My Biz Perks” (or “www.mybizperks.com”) of $11.95 that is contrary

to the terms of the contract and without merchant authorization.

         54.   Each of the categories of overcharges alleged in paragraphs 49-53 are

hereinafter referred to as “Junk Fees.”

         Inflation of Assessments

         55.   Next, Defendants systematically overcharge merchants for certain

pass-through assessments established by the card networks (Visa, MasterCard,

etc.).    These overcharges are added onto ordinary pass-through assessments

including access fees (Visa APF and MasterCard NABU fees) and other

assessments established by the card networks.

         56.   Although Defendants represented in each Plaintiff’s Application that

they would charge Plaintiffs “actual interchange passthrough and assessments

plus [X] BPS,” in fact, they illegally and impermissibly inflated certain

assessments.

         57.   Plaintiffs Dinner Bell, Bill’s Pizza, and Bill’s Grill each agreed to pay

Defendants a processing fee equal to 58 basis points of processing volume. See

Exhibits 2-4. Plaintiff Lucky 7 agreed to pay Defendants a processing fee equal to

50 basis points of processing volume. See Exhibit 5.




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       58.    The amounts, in basis points, that each Plaintiff agreed to pay in

addition to actual pass-through fees are reflected in the “discount rate” indicated on

each Plaintiff’s monthly statements under “DISC RATE.” Those charges are not a

subject of this litigation.

       59.    But in addition to charging Plaintiffs and other Class members the

agreed-upon processing fee in the form of basis points (discount rates), Defendants

secretly inflated the access fees and card network assessments for which Plaintiffs

were charged.

       60.    Access Fees. The appropriate Visa, MasterCard, and Discover access

fee rates relevant to the Class Period are as follows: (i) Prior to July 2012, all Visa

transactions incurred an APF fee of $0.0195; (ii) from July 2012 to the present,

Visa credit transactions continued to incur an APF fee of $0.0195; (iii) from July

2012 to the present, Visa debit transactions incurred an APF fee of $0.0155; (iv)

prior to June 2013, all MasterCard transactions incurred a NABU fee of $0.0185;

(v) from July 2013 to the present, all MasterCard transactions incurred a NABU

fee of $0.0195; (vi) prior to April 2016, all Discover transactions incurred an

access fee of $0.0185; and (vii) from April 2016 to the present, all Discover

transactions incur an access fee of $0.0195.




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      61.    Notwithstanding the actual access fee rates provided above, the

Application provides slightly different rates in the Pricing Schedule. In particular,

each Plaintiff agreed to pay MasterCard NABU rates of $0.0198 per transaction

and Visa APF rates of $0.0218 per transaction, as well as the actual Discover

access fee rate of $0.0185. See Exhibits 2-5.

      62.    Defendants routinely overcharged all Plaintiffs for card association

access fees, i.e., Visa APF, MasterCard NABU, and Discover access fees, as

described in this paragraph.

             a.     Dinner Bell.    Between at least August 2013 and December

2013, Dinner Bell was charged $0.0378 per Visa transaction, $0.0368 per

MasterCard transaction, and $0.0345 per Discover transaction. This represents

inflation of $0.0160, or 1.6¢, per transaction.

             b.     Bill’s Pizza. Between at least August 2013 and September

2013, Bill’s Pizza was charged $0.0378 per Visa transaction, $0.0368 per

MasterCard transaction, and $0.0345 per Discover transaction. This represents

inflation of $0.0160, or 1.6¢, per transaction.

             c.     Bill’s Grill.   Between at least August 2013 and September

2013, Bill’s Grill was charged $0.0378 per Visa transaction, $0.0368 per




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MasterCard transaction, and $0.0345 per Discover transaction. This represents

inflation of $0.0160, or 1.6¢, per transaction.

             d.     Lucky 7. Between at least July 2013 and March 2014, Lucky 7

was charged $0.0378 per Visa transaction, $0.0368 per MasterCard transaction,

and $0.0345 per Discover transaction. This represents inflation of $0.0160, or

1.6¢, per transaction. Between at least April 2014 and April 2016, Lucky 7 was

charged $0.0478 per Visa transaction, $0.0468 per MasterCard transaction, and

$0.0445 per Discover transaction. This represents inflation of $0.0260, or 2.6¢,

per transaction.

      63.    On information and belief, Defendants similarly charged other Class

members inflated Visa APF, MasterCard NABU, and Discover access fees.

      64.    Other Assessments.       The card networks also charge assessments

based on the total volume of transactions processed.        These assessments are

measured in basis points. During the Class Period, the appropriate amounts of

these assessments were as follows: (i) prior to January 2015, all Visa volume

incurred assessments of 11 basis points; (ii) from January 2015 to the present, Visa

credit volume has incurred assessments of 13 basis points; (iii) from January 2015

to July 2016, Visa debit volume incurred assessments of 11 basis points; (iv) from

July 2016 to the present, Visa debit volume has incurred assessments of 13 basis


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points; (v) prior to January 2015, all MasterCard volume incurred assessments of

11 basis points; (vi) from January 2015 to the present, all MasterCard volume

(excluding transactions over $1,000) has incurred assessments of 12 basis points;

(vii) prior to April 2015, all Discover volume incurred assessments of 10.5 basis

points; (viii) from April 2015 to April 2016, all Discover volume incurred

assessments of 11 basis points; and (ix) from April 2016 to the present, Discover

volume has incurred assessments of 13 basis points.

      65.    The Application does not modify these rates.

      66.    Defendants routinely overcharged all Plaintiffs for these additional

assessments, as described in this paragraph.

             a.    Dinner Bell.    Between at least August 2013 and December

2013, Dinner Bell was charged 16 basis points for Visa transactions (an inflation of

5 basis points), 17 basis points for MasterCard transactions (an inflation of 6 basis

points), and 15.5 basis points for Discover transactions (an inflation of 5 basis

points).

             b.    Bill’s Pizza. Between at least August 2013 and September

2013, Bill’s Pizza was charged 16 basis points for Visa transactions (an inflation of

5 basis points), 17 basis points for MasterCard transactions (an inflation of 6 basis




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points), and 15.5 basis points for Discover transactions (an inflation of 5 basis

points).

             c.    Bill’s Grill. Between at least August 2013 and September 2013,

Bill’s Grill was charged 16 basis points for Visa transactions (an inflation of 5

basis points), 17 basis points for MasterCard transactions (an inflation of 6 basis

points), and 15.5 basis points for Discover transactions (an inflation of 5 basis

points).

             d.    Lucky 7. Between at least July 2013 and March 2014, Lucky 7

was charged 16 basis points for Visa transactions (an inflation of 5 basis points),

17 basis points for MasterCard transactions (an inflation of 6 basis points), and

15.5 basis points for Discover transactions (an inflation of 5 basis points). From

April 2014 on, Lucky 7 was charged 19 basis points for Visa, MasterCard, and

Discover transactions (an inflation of 6-8 basis points depending on the date, in

light of the card network amendments to these charges in January 2015 and April

2015, alleged above).

      67.    Defendants thus systematically increased the Visa, MasterCard, and

Discover assessments – which are listed separately on Plaintiffs’ monthly

statements – by five or more additional basis points per transaction. This tactic

artificially increased the amount all Plaintiffs were required to pay for assessments


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that were unequivocally required to be “passed through,” and thus artificially

inflated Defendants’ revenues at Plaintiffs’ expense.

      68.    By inflating card network assessments in this way, Defendants

pilfered untold amounts of money from Class members in the aggregate, but

relatively small amounts on a per-merchant basis.

      69.    Defendants have built into the Agreement a strong disincentive for

merchants who suspect that have been overcharged to terminate their relationships

with Defendants, that is a substantial early termination fee if the term has not yet

expired. Merchants that are subject to the early termination fee are essentially put

to a Hobson’s Choice – pay the early termination fee (often in excess of $295.00)

or accept the overbilling.

C.    Defendants Endeavor to Legitimize Their Overbilling Via Adhesive
      Terms.
      70.    To further harm merchants and protect themselves, Defendants have

buried oppressive provisions in the adhesive Terms.

      71.    The Terms are boilerplate and are not negotiable; they are presented

to merchants on an adhesive, take-it-or-leave-it basis. The Terms consist of small

font text occupying more than 30 densely-worded paragraphs over nine pages.

      72.    The Terms represent a unilateral effort by Defendants to:           (a)

backtrack from the express representations about fees and pricing included in the


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Application (including the Pricing Schedule); and (b) immunize themselves from

liability for their egregious misconduct.

       73.    The Terms include clauses purporting to:

              (a)   give Defendants broad discretion to change the amounts of

agreed-upon fees or impose new fees (Ex. 1 at 2-3, 5);

              (b)   limit Defendants’ liability to one month’s worth of overcharges

(id. at 4);

              (c)   limit the statute of limitation for claims related to “billing

errors” to 90 days (id.);

              (d)   require merchants to pay attorneys’ fees in any legal action

(regardless of whether Defendants are deemed the prevailing parties and even if

merchants prove that Defendants engaged in fraud or other intentional

wrongdoing) (id. at 6);

              (e)   prohibit merchants from pursuing their claims in a class action

(id.); and

              (f)   prohibit merchants from enforcing their right to a jury trial (id.).

       74.    These provisions violate public policy, lack mutuality, are

unconscionable, constitute improper exculpatory clauses, and are otherwise void

and unenforceable under Georgia law.


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D.     Defendants’ Practices Have Harmed Plaintiffs and the Other Class
       Members.
       75.    The deceptive, wrongful overbilling policies and practices described

above harmed Plaintiffs and the other Class members.

       76.    All Plaintiffs were merchant customers of Defendants beginning in

early 2013.      Defendants victimized and damaged each Plaintiff through the

overbilling practices described herein. Specifically, Defendants charged Plaintiffs

Junk Fees that were not identified in the Application (or identified as being

inapplicable to Plaintiffs) and, as described in detail above, inflated access fees and

other assessments above and beyond the “pass-through” charges they expressly

agreed to pay.

       77.    Defendants did not single out Plaintiffs for this treatment, but rather

perpetrated a systematic scheme of merchant exploitation designed to inflate

Defendants’ bottom line at the direct expense of their merchant clients.

       78.    Defendants were well aware of the fraudulent and otherwise improper

nature of their conduct for the duration of the Class Period and, in fact,

intentionally inflated their fees to injure Plaintiffs.

       79.    The inflated charges on Plaintiffs’ invoices are not assessed randomly

or the result of sporadic errors.      Rather, the inflated charges are imposed by

Defendants to carry out their fraudulent scheme using one or more computer


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algorithms that they have designed and which are based upon information provided

by NAB’s merchant accounting and/or accounts receivable department.

      80.    There is also direct evidence that Defendants acted intentionally for

fraudulent purposes.

      81.    In October 2014, David Reiter, the merchant account representation

that facilitated certain Plaintiffs’ relationships with NAB (namely, Dinner Bell,

Bill’s Pizza, and Bill’s Grill), attended an NAB-operated Sales Conference in

Detroit, Michigan, at which NAB executives gave presentations to merchant

account representatives and others about their business activities.

      82.    At the conclusion of this Sales Conference, NAB’s chief executive

officer, Marc Gardner, made himself available for a question-and-answer session.

This portion of the conference was videotaped. The videotape is in the possession

of NAB.

      83.    At that question-and-answer session, Mr. Reiter pointedly asked Mr.

Gardner about NAB’s decision to increase the pass-through assessments it charges

to merchants without disclosing that those fees have been marked up by NAB.

      84.     Mr. Reiter expressly raised with Mr. Gardner the virtually identical

practices of Mercury Payment Systems (“Mercury”), a competitor of NAB that had

recently been sued in the Northern District of California by Heartland Payment


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Systems (“Heartland”) under the Lanham Act and various California state statutes

prohibiting unfair competition and fraudulent business practices. See Heartland

Payment Systems, Inc. v. Mercury Payment Systems LLC, No. 4:14-cv-00437-CW

(N.D. Cal.).

      85.      In response, Mr. Gardner dismissed the notion that NAB was

following in Mercury’s footsteps, and explained that, on the contrary, “We show

Mercury the way” with respect to extracting a premium from merchant clients.

      86.      Mr. Gardner’s candid admission demonstrates unequivocally that

NAB acted intentionally and for the purpose of deceiving its customers when it

inflated charges on their invoices as described in this complaint.

      87.      As a direct consequence of Defendants’ overbilling policies and

practices, Plaintiffs and the other Class members have wrongfully paid

unauthorized fees and charges. Defendants have improperly deprived the entire

Class of significant funds, causing each Class member to sustain damages.

Because Defendants’ practices of imposing unauthorized junk fees and inflating

various assessments were applied to the other Class members’ accounts (of which

there may be over 250,000) in an automated fashion, Defendants have potentially

pilfered hundreds of millions of dollars from their clients.




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      88.    Thus, due to Defendants’ improper charges and fees, and false and

misleading statements, as alleged herein, Defendants have wrongfully deprived

Plaintiffs and the other Class members of funds to which Defendants have no

legitimate claim.

E.    Defendants Fraudulently Induced All Affected Merchants to Enter into
      Merchant Service Agreements.
      89.    The Terms of the Agreement, including the Pricing Schedule, are

provided to all merchants prior to the formation of a business relationship between

merchants and Defendants.

      90.    Indeed, a merchant’s execution of an Application (included in Exhibit

1) is a prerequisite to obtaining payment card processing services from Defendants.

Defendants must “accept” an Application before they will begin to provide such

services.

      91.    The inflated assessments, including card association access fees and

other assessments, that are charged by Defendants are not disclosed in the Terms

of the Agreement or in the Application. Further, the fact that Defendants can, may,

or will inflate those fees is not disclosed in the Terms of the Agreement or in the

Application. Neither is the fact that Defendants do not intend to honor their

statements in the Application (including the Pricing Schedule) disclosed in the

Terms of the Agreement or in the Application.


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      92.     The amount and nature of the fees charged by Defendants to process

payment card transactions is material to Plaintiffs and all merchants. The purpose

for which any merchant contracts to receive payment card processing services is to

process customer credit and debit cards for goods or services sold by the merchant

to the customer at the lowest possible rate. Defendants are financial middlemen.

Any fees imposed by such intermediaries as Defendants necessarily detract from

merchants’ income.

      93.     NAB admits that the amount and nature of the fees it charges to

merchants are important to merchants.             For example, on its website, NAB

advertises its services by advising prospective clients to, “Look for the lowest

interchange          fees.”               (http://blog.nabancard.com/category/merchant-

accounts/page/2/). NAB also advises prospective clients that, “Interchange plus is

a   better    plan     for    merchants     …     because   the   pricing   is   better.”

(http://blog.nabancard.com/merchant-account/understanding-your-credit-card-

processing-statements/).

      94.     Plaintiffs justifiably relied on Defendants’ agreement – as reflected in

the Pricing Schedule of their respective Applications – to pass through without

inflating the card networks’ various assessments, including access fees and other

assessments, for which Plaintiffs would be liable.          Plaintiffs’ reliance on the


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express terms of the Application, including the Pricing Schedule, was justified

because Defendants provided no basis to doubt the accuracy and truthfulness of

those terms and the prices quoted.

      95.    Based on Plaintiffs’ reviews of the rates promised by Defendants and

their competitors at the time Plaintiffs agreed to engage Defendants, Defendants

had the most favorable rates.        Upon this basis, Plaintiffs contracted with

Defendants rather than their competitors to obtain credit and debit card processing

services.

F.    Defendants’ Class Action Waiver Clause Is Unenforceable.
      96.    Section 25 of the Terms contains a number of unenforceable

provisions, including a statement purporting to waive merchants’ right to

participate in class actions.

      97.    Section 25 is called “CHOICE OF LAW/ATTORNEY’S FEES/JURY

TRIAL WAIVER.” The title of this section makes no reference to a class action

waiver clause.    The section contains no typographical enhancements (such as

bolded, capitalized, or italicized text) that might otherwise call attention to such a

waiver clause.




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      98.      The section uses a small font, is buried six pages into the Terms, and

is written in a confusing manner.                              It uses baroque dependent clauses and

misleading run-on sentences.

      99.      In full, section 25 provides:
               Should it be necessary for Global or Member to defend or enforce any of its rights under this Agreement in any
               collections or legal action, Merchant agrees to reimburse Global and/or Member, as applicable, for all costs and
               expenses, including reasonable attorney’s fees, as a result of such collection or legal action. Without limiting the
               generality of the foregoing, Merchant agrees to reimburse Global and/or Member, as applicable, for all costs and
               expenses, including reasonable attorney’s fees, incurred by Global and/or Member in enforcing or defending its
               rights under this Section 24 [sic], without regard to whether there has been an adjudication on the merits in any such
               action. Merchant waives trial by jury with respect to any litigation arising out of or relating to this Agreement.
               Global, Member, and Merchant agree that any and all disputes or controversies of any nature whatsoever (whether
               in contract, tort, or otherwise) arising out, relating to, or in connection with (a) this Agreement, (b) the relationships
               which result from this Agreement, or (c) the validity, scope, interpretation or enforceability of the choice of law and
               venue provisions of this Agreement, shall be governed by the laws of the State of Georgia, notwithstanding any
               conflicts of laws rules, and shall be resolved, on an individual basis without resort to any form of class action and
               not consolidated with the claims of any other parties. Global, Member, and Merchant agree that all actions arising
               out, relating to, or in connection with (a) this Agreement, (b) the relationships which result from this Agreement, or
               (c) the validity, scope, interpretation or enforceability of the choice of law and venue provisions of this Agreement
               shall be brought in either the courts of the State of Georgia sitting in Fulton County or the United States District
               Court for the Northern District of Georgia, and expressly agree to the exclusive jurisdiction of such courts.


      100. The class action waiver language in section 25 of the Terms is

improperly exculpatory under Georgia law and will not be enforced by Georgia

courts.     Under Georgia law, exculpatory clauses are contractual “provisions

entirely restricting remedies” or “waiv[ing] substantial rights.” JVC America, Inc.

v. Guardsmark, LLC, 2006 WL 2443735, at *11 (N.D. Ga. Aug. 22, 2006). This

clause is designed to severely restrict or eliminate remedies available to

Defendants’ merchant clients and to insulate Defendants from liability.                                                               If

Plaintiffs are forced to seek relief for Defendants’ overbilling on an individual,

non-class basis, it would make no economic sense for them to proceed with this



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case in light of the modest individual damages Plaintiffs and each Class member

has suffered and in light of certain other provisions in section 25, including the

clause purporting to require merchants to pay attorneys’ fees regardless of any

adjudication on the merits of any controversy arising out of the Agreement.

      101. In addition to being improperly exculpatory, it is procedurally and

substantively unconscionable, and is unenforceable for that further reason.

      102. The Supreme Court has acknowledged that, “The policy at the very

core of the class action mechanism is to overcome the problem that small

recoveries do not provide the incentive for any individual to bring a solo action

prosecuting his or her rights.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 617

(1997).

      103. As the Eleventh Circuit Court of Appeals has further recognized, “the

effort and cost of investigating and initiating a claim may be greater than many

claimants’ individual stake in the outcome, discouraging the prosecution of these

claims absent a class action filing procedure.” In re Charter Co., 876 F.2d 866,

871 (11th Cir. 1989).

      104. Consequently, if the class action waiver clause purportedly contained

in section 25 of the Terms were deemed enforceable, all merchants damaged by

Defendants’ fraudulent and otherwise unlawful practices, as alleged herein, will be


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denied a remedy for their injuries. Because the amount of any one merchants’

losses from the inflated fees charged by Defendants is modest, individual

merchants have no financial incentive to pursue litigation and every reason not to

do so. The expense of litigation is such that no merchant would invest the time or

resources necessary to sue Defendants absent a mechanism for collective action.

This factor strongly weighs against the validity of Defendants’ purported class

action waiver clause. Dale v. Comcast Corp., 498 F.3d 1216, 1221-24 (11th Cir.

2007).

      105. Further, the purported class action waiver clause is unenforceable

because all merchants, including Plaintiffs and the other Class members, were

induced to entered into contracts with Defendants on the basis of Defendants’

fraudulent misrepresentation of the fees they would be charged, and/or on the basis

of Defendants’ fraudulent omission of the fact that the pass-through assessments

established by the card networks would be inflated.

      106. Defendants included the class action waiver clause in their form

Agreement for the specific purpose of attempting to immunize their fraudulent

scheme from legal attack, knowing that individual customers had no viable legal

remedy because the expense of litigation far exceeded their losses. The class




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action waiver clause thus was a part and parcel of the fraud perpetuated by

Defendants.

      107. As a result, the purported class action waiver is void or voidable.

                      V. CLASS ACTION ALLEGATIONS

      108. Plaintiffs bring this action individually and on behalf of all others

similarly situated as a class action pursuant to the provisions of Rules 23(a), (b)(2),

and (b)(3) of the Federal Rules of Civil Procedure.

      109. The Class includes the “Assessments Class” and the “Junk Fee Class.”

      110. The Assessments Class is defined as follows:

              All those who signed a Merchant Application containing the words
              “Actual interchange passthrough and assessments” or “Card
              association assessments will be passed through,” and paid to
              Defendants any Visa, MasterCard, or Discover assessment exceeding
              the amount stated in the Merchant Application or, where no amount is
              stated, exceeding the amount established by Visa, MasterCard, or
              Discover, as applicable.

              The phrase, “any Visa, MasterCard, or Discover assessment” includes
              card association access fees (Visa APF, MasterCard NABU, or
              Discover access fees) and other assessments, including assessments
              computed using a fixed number of basis points.

      111. The Junk Fee Class is defined as follows:

              All those who signed a Merchant Application and paid to Defendants
              any Junk Fee, i.e., any flat fee not expressly identified as applicable to
              that person or entity in the Merchant Application.

      112. Plaintiffs reserve the right to amend these Class definitions.


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      113. Excluded from the Class are Defendants, their parents, subsidiaries,

affiliates, officers, and directors, any entity in which Defendants have a controlling

interest, all customers who make a timely election to be excluded, the government,

and all judges assigned to hear any aspect of this litigation, as well as their

immediate family members.

      114. The Class Period begins on the earliest date allowed by the statute of

limitations applicable to each cause of action, and proceeds until such time as

Defendants remedy the conduct complained of herein. Based on Georgia’s statute

of limitations for breach of contract actions, the Class Period is likely to begin six

years prior to the date on which any Plaintiff in this consolidated action filed a

complaint (August 31, 2015), if the contract is held to be enforceable.

      115. Certification of Plaintiffs’ claims for class-wide treatment is

appropriate because Plaintiffs can prove the elements of their claims on a class-

wide basis using the same evidence as would be used to prove those elements in

individual actions alleging the same claim.

      116. Numerosity – Federal Rule of Civil Procedure 23(a)(1).                 The

members of the Class are so numerous that individual joinder of all the members is

impracticable. On information and belief, there are not less than tens of thousands

of merchants that have been damaged by Defendants’ wrongful conduct as alleged


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herein. The precise number of Class members and their addresses are presently

unknown to Plaintiffs, but may be ascertained from Defendants’ books and

records.   Class members may be notified of the pendency of this action by

recognized, Court-approved notice dissemination methods, which may include

U.S. Mail, electronic mail, Internet postings, and/or published notice.

      117. Commonality and Predominance – Federal Rules of Civil

Procedure 23(a)(2) and 23(b)(3). Numerous common questions of law and fact

exist as to Plaintiffs and the other Class members. Such questions Class include,

but are not limited to:

             a.     Whether Defendants acted and continue to act unlawfully,

unfairly, deceptively, misleadingly, and/or fraudulently by inflating assessments,

including access fees and other assessments, charged to merchants, including

Plaintiffs and the other Class members, for Defendants’ own benefit;

             b.     Whether Defendants acted and continue to act unlawfully,

unfairly, deceptively, misleadingly, and/or fraudulently by imposing Junk Fees

charged to merchants, including Plaintiffs and the other Class members, for

Defendants’ own benefit;




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             c.      Whether Defendants’ conduct alleged herein breached the terms

of their contracts with merchants, including Plaintiffs and the other Class

members;

             d.      Whether Defendants’ conduct alleged herein violated the

covenant of good faith and fair dealing applicable to their contracts with

merchants, including Plaintiffs and the other Class members;

             e.      Whether Defendants fraudulently induced merchants, including

Plaintiffs and the other Class members, to contract to receive payment card

processing services;

             f.      Whether Defendants required merchants, including Plaintiffs

and the other Class members, to enter into contracts containing exculpatory,

unconscionable, or otherwise unenforceable provisions;

             g.      Whether any provision in the Merchant Service Agreement is

exculpatory, unconscionable, or otherwise unenforceable;

             h.      Whether Defendants were unjustly enriched through their

billing practices;

             i.      Whether Defendants are liable to Plaintiffs and the other Class

members for inflating card network assessments, including access fees and other

assessments, for Defendants’ own benefit;


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             j.    Whether Defendants are liable to Plaintiffs and the other Class

members for imposing Junk Fees for Defendants’ own benefit; and

             k.    Whether Defendants should be enjoined from engaging in any

or all of the unlawful, unfair, deceptive, misleading, and/or fraudulent practices

complained of herein.

      118. Defendants have engaged in a common course of conduct toward

Plaintiffs and the other Class members. The common issues arising from this

conduct that affect Plaintiffs and the other Class members predominate over any

individual issues. Adjudication of these common issues in a single action has

important and desirable advantages of judicial economy.

      119. Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiffs’

claims are typical of the other Class members’ claims because, among other things,

all members of the Class were comparably injured through the uniform misconduct

described above.

      120. Adequacy of Representation – Federal Rule of Civil Procedure

23(a)(4). Plaintiffs are adequate Class representatives because their interests do

not conflict with the interests of the other Class members they seek to represent;

Plaintiffs have retained counsel competent and experienced in complex

commercial and class action litigation; and Plaintiffs intend to prosecute this action


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vigorously. Class members’ interests will be fairly and adequately protected by

Plaintiffs and their counsel.

      121. Declaratory and Injunctive Relief – Federal Rule of Civil

Procedure 23(b)(2). Defendants have acted or refused to act on grounds generally

applicable to Plaintiffs and the other Class members, thereby making appropriate

final injunctive and declaratory relief, as described below.

      122. Predominance and Superiority – Federal Rule of Civil Procedure

23(b)(3). Issues common to the Class as a whole predominate over issues relating

to individual Class members. Moreover, a class action is superior to any other

available means for the fair and efficient adjudication of this controversy, and no

unusual difficulties are likely to be encountered in the management of this class

action. The damages or other financial detriment suffered by Plaintiffs and each of

the other Class members are small compared to the burden and expense that would

be required to individually litigate their claims against Defendants, thus rendering

it impracticable for Class members to individually seek redress for Defendants’

wrongful conduct. Even if Class members could afford individual litigation, the

court system could not. Individualized litigation creates a potential for inconsistent

or contradictory judgments, and increases the delay and expense to all parties and

the court system.      By contrast, the class action device presents far fewer


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management difficulties and provides the benefits of single adjudication, economy

of scale, and comprehensive supervision by a single court.

                         VI.    CLAIMS FOR RELIEF

                                COUNT ONE
                    Breach of Contract and Breach of the
                   Covenant of Good Faith and Fair Dealing

      123. Plaintiffs restate and incorporate by reference the allegations in

paragraphs 1 through 122, above, as though fully set forth herein.

      124. Plaintiffs bring this claim individually and on behalf of all other Class

members.

      125. Plaintiffs and Defendants have contracted for payment processing

services. As described above, Defendants’ actions have violated the specific terms

of the form Merchant Service Agreements with their customers. Defendants are

liable for the losses of Plaintiffs and the other Class members that have resulted

from Defendants’ breaches of the parties’ contractual agreements.

      126. The Pricing Schedule in all Assessments Class members’ Merchant

Applications states either, “Actual interchange passthrough and assessments” or

“Card association assessments will be passed through.”




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      127. Further, the Pricing Schedule in all Class members’ Merchant

Applications sets forth the rates at which Visa, MasterCard, and Discover access

fees will be charged.

      128. As alleged herein, Defendants did not pass actual card association

assessments through to Plaintiffs and the other members of the Assessments Class.

Instead, Defendants inflated the amounts of card association assessments charged

to Plaintiffs and the other members of the Assessments Class.

      129. As alleged herein, Defendants charged Plaintiffs and the other

members of the Assessments Class 5 or more basis points in addition to the

“actual” card association assessments established by Visa, MasterCard, and

Discover.

      130. As alleged herein, Defendants also charged Plaintiffs and the other

members of the Assessments Class access fees, i.e., Visa APF, MasterCard NABU,

and Discover access fees, in excess of the rates stated in the applicable Merchant

Applications.

      131. Defendants’ inflation of these assessments breached their contracts

with Plaintiffs and the other members of the Assessments Class.




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      132. Further, Defendants imposed Junk Fees on Plaintiffs and the other

members of the Junk Fee Class. Junk Fees are flat fees that are not identified as

applicable to a particular merchant in its Merchant Application.

      133. Defendants’ imposition of Junk Fees constitutes a breach of their

contracts with Plaintiffs and the other members of the Junk Fee Class.

      134. Georgia law is applicable to this claim by virtue of the choice of law

provision in the form Merchant Agreement.

      135. Under Georgia law, each party to a contract has a duty of good faith

and fair dealing.    Good faith and fair dealing, in connection with executing

contracts and discharging performance and other duties according to their terms,

means preserving the spirit – not merely the letter – of the bargain. Put differently,

the parties to a contract are mutually obligated to comply with the substance of

their contract in addition to its form.

      136. Subterfuge and evasion violate the obligation of good faith in

performance even when an actor believes his conduct to be justified. A lack of

good faith may be overt or may consist of inaction, and fair dealing may require

more than honesty. Examples of violations of good faith and fair dealing are

evasion of the spirit of the bargain, willful rendering of imperfect performance, and

abuse of a power to specify terms.


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      137. Defendants have breached the covenant of good faith and fair dealing

with Plaintiffs and the other Class members through their practices as alleged

herein.

      138.     Plaintiffs and the other Class members have performed all, or

substantially all, of the obligations imposed on them under the Merchant Service

Agreement, or those obligations are waived.

      139. Plaintiffs and the other Class members reasonably expected

Defendants not to inflate or mark up the card association assessments, including

access fees and other assessments, or impose unauthorized Junk Fees, based on the

express terms of the contracts as alleged herein.

      140.     Plaintiffs and the other Class members sustained damages as a result

of Defendants’ breaches of contract, as well as the further breaches of the contract

as modified by the covenant of good faith and fair dealing.

                                  COUNT TWO
                               Fraudulent Omission

      141. Plaintiffs restate and incorporate by reference the allegations in

paragraphs 1 through 122, above, as though fully set forth herein.

      142. Plaintiffs bring this claim individually and on behalf of all other Class

members.




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      143. As alleged herein, Defendants knew but failed to disclose that their

pricing models included inflated or marked-up card association assessments,

including access fees and other assessments, as well as unauthorized Junk Fees.

      144. Plaintiffs and the other Class members reasonably expected the

payment processing services provided to them by Defendants would be based on

an interchange-plus, or cost-plus, pricing basis, and that, accordingly, the card

association assessments for which they would be charged would include only the

actual assessments imposed by the card networks.

      145. Indeed, in the Pricing Schedule portion of each Merchant Application,

Defendants expressly promised their merchant clients that, “Card association

assessments will be passed through,” or that “[a]ctual interchange passthrough and

assessments” would be used in pricing. Defendants expressly identified the Visa,

MasterCard, and Discover access fees they would charge merchants in the same

document. Defendants also expressly identified the flat fees they would charge

merchants in the same document (in the “Other Fees” portion).

      146. Plaintiffs and the other Class members executed Merchant

Applications disclosing the permissible fees Defendants would charge them, and

justifiably relied on the terms of that document as alleged herein.




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      147. The nature and amount of fees Defendants charged to and collected

from Plaintiffs and the other Class members were material to Plaintiffs and the

other Class members.

      148. Had Defendants disclosed that they would, in fact, mark up and

overcharge for fees and assessments that Defendants promised would be passed

through at cost, Plaintiffs and the other members of the Assessments Class would

not have obtained payment processing services from Defendants.

      149. Had Defendants disclosed that they would, in fact, impose additional,

unauthorized Junk Fees not disclosed in the Pricing Schedule, Plaintiffs and the

other members of the Junk Fee Class would not have obtained payment processing

services from Defendants.

      150. Furthermore, in each monthly invoice provided to Plaintiffs and the

other Class members by Defendants during the Class Period, Defendants failed to

disclose that they had imposed inflated or marked-up card association assessments,

including access fees and other assessments, on a per-transaction basis.

      151. Similarly, in each monthly invoice provided to Plaintiffs and the other

Class members by Defendants during the Class Period, Defendants failed to

disclose that they had imposed unauthorized Junk Fees.




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      152. Had Plaintiffs and the other Class members been apprised of the true

facts – that Defendants had inflated or marked-up the card association assessments

and/or imposed unauthorized Junk Fees – they would not have continued obtaining

payment card processing services from Defendants.

      153. Plaintiffs and the other Class members were damaged in an amount to

be proven at trial as a result of Defendants’ fraudulent omissions and failures to

disclose the true nature and amounts of the fees they would charge them, and did

charge them, during the Class Period.

                              COUNT THREE
                         Fraudulent Misrepresentation

      154. Plaintiffs restate and incorporate by reference the allegations in

paragraphs 1 through 122, above, as though fully set forth herein.

      155. Plaintiffs bring this claim individually and on behalf of all other Class

members.

      156. As alleged herein, Defendants intentionally misrepresented their

pricing model by stating in the Pricing Schedule portion of the Merchant

Application that, “Actual interchange passthrough and assessments” would be used

in computing prices or that “[c]ard association assessments will be passed

through.”




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      157. Defendants did not charge Plaintiffs and the other members of the

Assessments Class in accordance with these representations. Instead, Defendants

inflated or marked-up the actual card association assessments for their own benefit.

      158. As alleged herein, Defendants intentionally misrepresented their

pricing model by setting forth in the Pricing Schedule portion of the Merchant

Application rates for card association access fees, i.e., Visa APF, MasterCard

NABU, and Discover access fees, that they had no intention of honoring.

      159. Defendants did not charge Plaintiffs and the other members of the

Assessments Class in accordance with these representations. Instead, Defendants

inflated or marked-up the card association access fees for their own benefit.

      160. As alleged herein, Defendants intentionally misrepresented their

pricing model by setting forth in the “Other Fees” portion of the Pricing Schedule

in the Merchant Application various flat fees that would be applicable to Plaintiffs

and the other members of the Junk Fee Class, which Defendants had no intention

of honoring.

      161. Defendants did not charge Plaintiffs and the other members of the

Junk Fee Class in accordance with these representations. Instead, Defendants

imposed unauthorized Junk Fees for their own benefit.




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      162. Plaintiffs and the other Class members reasonably expected that the

payment processing services Defendants provided to them would be based on an

interchange-plus, or cost-plus, pricing basis, and that, accordingly, all card

association assessments, including access fees and other assessments, would be

passed through at cost, and all other flat fees would be disclosed and agreed in

advance.

      163. Plaintiffs and the other Class members executed Merchant

Applications disclosing the permissible fees Defendants would charge them, and

justifiably relied on the terms of that document, as alleged herein.

      164. The nature and amount of fees Defendants charged to Plaintiffs and

the other Class members were material to Plaintiffs and the other Class members.

      165. Had Defendants disclosed that they would use a pricing model that

would not pass through the assessments, including access fees and other

assessments, established by the card networks at cost, and would, in fact, mark up

and overcharge for those fees, Plaintiffs and the other members of the Assessments

Class would not have obtained payment processing services from Defendants.

      166. Had Defendants disclosed that they would use a pricing model that

would not adhere to the authorized list of “Other Fees” contained in the Merchant

Application and would, in fact, impose additional, unauthorized Junk Fees,


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Plaintiffs and the other members of the Junk Fee Class would not have obtained

payment processing services from Defendants.

      167. Furthermore, in each monthly invoice provided to Plaintiffs and the

other Class members by Defendants during the Class Period, Defendants

misrepresented that they had charged Plaintiffs and the other Class members actual

card association assessments, including access fees and other assessments, on a

per-transaction basis. In fact, Defendants added inflation to these assessments,

often concealed under misleading labels such as “CHGB.”

      168. Similarly, in each monthly invoice provided to Plaintiffs and the other

Class members by Defendants during the Class Period, Defendants misrepresented

that they had collected only authorized flat fees. In fact, Defendants also collected

unauthorized Junk Fees, often concealed under misleading labels such as

“regulatory fee.”

      169. Had Plaintiffs and the other Class members been apprised of the true

facts – that Defendants had inflated or marked-up the card association assessments

and/or imposed unauthorized Junk Fees – they would not have continued obtaining

payment card processing services from Defendants.

      170. Plaintiffs and the other Class members were damaged in an amount to

be proven at trial as a result of Defendants’ fraudulent misrepresentations


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concealing the true nature and amounts of the fees they would charge them, and

did charge them, during the Class Period.

                                COUNT FOUR
                             Fraudulent Inducement

      171. Plaintiffs restate and incorporate by reference the allegations in

paragraphs 1 through 122, above, as though fully set forth herein.

      172. Plaintiffs bring this claim individually and on behalf of all other Class

members.

      173. As alleged herein, Defendants concealed their true pricing model by,

inter alia, stating in the Merchant Application that “[c]ard association assessments

will be passed through” or that “[a]ctual interchange passthrough and assessments”

would be charged, when in fact they had no intention of honoring this statement;

setting forth rates for card association access fees, i.e., Visa APF, MasterCard

NABU, and Discover access fees, that they had no intention of honoring; and

setting forth, in the “Other Fees” portion of the Pricing Schedule, various flat fees

that would be applicable to Plaintiffs and the other members of the Junk Fee Class,

which Defendants had no intention of honoring.

      174. Defendants’ true pricing model included inflated or marked-up card

association assessments, including access fees and other assessments, as well as

unauthorized Junk Fees.

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      175. Prior to executing Merchant Applications and forming a contract with

Defendants, Plaintiffs and the other Class members were deceived by Defendants

with respect to the pricing model Defendants would use in processing payments on

their behalf.

      176. In particular, Defendants disclosed a Pricing Schedule that did not

reflect, omitted, and/or concealed the true pricing model Defendants would use in

processing payments.

      177. As alleged herein, Defendants impermissibly and unlawfully inflated

or marked-up the card association assessments, including access fees and other

assessments, that they charged to Plaintiffs and other members of the Assessments

Class, and imposed unauthorized Junk Fees on Plaintiffs and other members of the

Junk Fee Class.

      178. As further alleged herein, Defendants knew that their disclosed

Pricing Schedule did not accurately reflect the prices and fees they would charge

merchants, including Plaintiffs and the other Class members, at the time the

Pricing Schedule was published.

      179. The nature and amounts of fees charged by Defendants to Plaintiffs

and the other Class members were material to Plaintiffs and the other Class

members.        Had Defendants accurately represented that they would inflate


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assessments and impose Junk Fees, Plaintiffs and the other Class members would

not have contracted with Defendants to receive payment processing services.

      180. Accordingly, Plaintiffs and the other Class members were

fraudulently induced to enter into Merchant Service Agreements.

      181. Plaintiffs are entitled to seek damages and/or rescission of their

contracts with Defendants, or other equitable relief, including restitution of funds

Defendants took from them without permission.

      182.    Plaintiffs will make an election of remedies as mandated by Georgia

law, if necessary, at the appropriate juncture.

                              COUNT FIVE
               Unjust Enrichment and Money Had and Received

      183. Plaintiffs restate and incorporate by reference the allegations in

paragraphs 1 through 122, above, as though fully set forth herein.

      184. Plaintiffs bring this claim individually and on behalf of all other Class

members.

      185. As alleged herein, Defendants were unjustly enriched at the expense

of Plaintiffs and the other Class members, who were overcharged by Defendants

for card association assessments, including access fees and other assessments, and

for unauthorized Junk Fees.




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      186. Plaintiffs and the other Class members were unjustly deprived of

money obtained by Defendants as a result of their undisclosed, unfair,

unscrupulous, and unconscionable inflation of card association assessments and

imposition of unauthorized Junk Fees.

      187. It would be inequitable and unconscionable for Defendants to retain

the profit, benefit, and other compensation they obtained from Plaintiffs and the

other Class members as a result of their wrongful conduct alleged herein.

      188. Plaintiffs and the other Class members are entitled to seek restitution

from Defendants as well as an order from this Court requiring disgorgement of all

profits, benefits, and other compensation obtained by Defendants by virtue of their

wrongful conduct.

      189. This claim is asserted as an alternative to Plaintiffs’ claim for breach

of contract and in recognition that the form contracts executed by Plaintiffs and

other Class members may be void.

                               COUNT SIX
   For Declaratory Relief Concerning Enforceability of Exculpatory and/or
                      Unconscionable Contract Terms

      190. Plaintiffs restate and incorporate by reference the allegations in

paragraphs 1 through 122, above, as though fully set forth herein.




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       191. Plaintiffs bring this claim individually and on behalf of all other Class

members.

       192. As alleged herein, Defendants have attempted to immunize

themselves from legal claims by imposing improperly exculpatory, adhesive,

unfair, and draconian terms in their Merchant Service Agreement making it

extremely costly and practically impossible to obtain relief from their improper and

unlawful practices.

       193. Such terms include those purporting to:

              (a)     give Defendants broad discretion to change the amounts of

agreed-upon fees or impose new fees (Ex. 1 at 2-3, 5);

              (b)     limit Defendants’ liability to one month’s worth of overcharges

(id. at 4);

              (c)     limit the statute of limitation for claims related to “billing

errors” to 90 days (id.);

              (d)     require merchants to pay attorneys’ fees in any legal action

(regardless of whether Defendants are deemed the prevailing parties) (id. at 6);

              (e)     prohibit merchants from pursuing their claims in a class action

(id.); and

              (f)     prohibit merchants from enforcing their right to a jury trial (id.).


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      194. These terms are exculpatory and unenforceable under Georgia law.

      195. Under Georgia law, exculpatory clauses are contractual “provisions

entirely restricting remedies” or “waiv[ing] substantial rights.” JVC America, Inc.,

2006 WL 2443735, at *11.

      196. Each of the foregoing clauses is designed to severely restrict or

eliminate remedies available to Defendants’ merchant clients and to insulate

Defendants from liability.

      197. Moreover, the Agreement, as a whole or in part, is substantively and

procedurally unconscionable.

      198. Indeed, the Agreement is a contract of adhesion in that it is a

standardized form, imposed and drafted by Defendants, which are parties of vastly

superior bargaining strength, that only allowed Plaintiffs and the other Class

members the opportunity to adhere to them or reject them entirely.

      199. The Agreement is substantively unconscionable to any extent it

allowed Defendants to perpetrate the grossly improper acts described herein.

      200. Considering the great business acumen and experience of Defendants

in relation to Plaintiffs and the other Class members, the great disparity in the

parties’ relative bargaining power, the inconspicuousness and incomprehensibility

of the contract language at issue, the oppressiveness of the terms, the commercial


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unreasonableness of the terms, the purpose and effect of the terms, the allocation of

the risks between the parties, and similar public policy concerns, the Agreement is

unconscionable and, therefore, unenforceable as a matter of law.

        201. Certain provisions of the Agreement are also illusory, lacking in

mutuality, or lacking in consideration such that they are unenforceable under

applicable Georgia law, including any provision purporting to permit any

Defendant discretion to change the amounts of agreed-upon fees or impose new

fees.

        202. Accordingly, Plaintiffs seek relief declaring these contract terms

unenforceable, and injunctive relief preventing their enforcement.

                            REQUEST FOR RELIEF

        WHEREFORE, Plaintiffs, individually and on behalf of the other Class

members, respectfully request that this Court enter judgment in their favor and

against Defendants as follows:

        1.   Certifying the proposed Assessments Class and Junk Fee Class,

including appointment of Plaintiffs as Class Representatives and their counsel as

Class Counsel;




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      2.     Temporarily and permanently enjoining Defendants from continuing

their unlawful, unfair, deceptive, misleading, and fraudulent business practices

alleged in this complaint;

      3.     Providing further injunctive relief, including restitution of any sums

obtained by Defendants from Plaintiffs and the other Class members as a result of

their unlawful, unfair, deceptive, misleading, and fraudulent business practices,

and disgorgement of profits;

      4.     Declaring the several challenged provisions of the Merchant Service

Agreement to be unenforceable and enjoining their enforcement;

      5.     Awarding all appropriate damages, including pre- and post-judgment

interest at the maximum rate permitted by applicable law;

      6.     Granting a trial by jury; and

      7.     Providing such other relief as this Court deems just and proper.




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                        DEMAND FOR JURY TRIAL

     Plaintiffs demand a trial by jury on all claims so triable.

DATED this 22nd day of February, 2017.

                                       Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      I hereby certify that on this 22nd day of February, 2017, I caused the

foregoing document to be electronically filed with the Clerk of Court using the

CM/ECF system which automatically sends email notification of such filing to all

attorneys of record.

                                    /s/ Kenneth S. Canfield
                                    Kenneth S. Canfield
